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                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MARYLAND

ALEXA SPRIGGS, et al,                                       *

         Plaintiffs,                                        *

             v.                                             *             Civil Case No. 20-cv-3395-JMC

GEORGE MERLING, et al,                                      *

         Defendants.                                        *

                                                       *****

                   ORDER APPROVING FLSA SETTLEMENT AGREEMENT

         Pending before the Court is the parties’ Joint Motion for Approval of Settlement. (ECF No.

42). After careful consideration and review of both the pending Motion and the parties’ October

28, 2022 letter to my Chambers, 1 I waive a hearing on this Motion, and it is hereby:

         ORDERED that the parties’ settlement agreement is APPROVED as a fair and reasonable

resolution of the parties’ Fair Labor Standards Act (“FLSA”) dispute; 2

         ORDERED that the parties’ Joint Motion for Approval of Settlement (ECF No. 42) is

GRANTED; and



1
  Although there is no written settlement agreement between the parties, the parties’ agreement is memorialized in
their pending Motion and the October 28, 2022 letter (attached as Exhibit A).
2
  In reviewing FLSA settlements for approval, “district courts in this circuit typically employ the considerations set
forth by the Eleventh Circuit in Lynn’s Food Stores.” Saman v. LBDP, Inc., No. DKC-12-1083, 2013 WL 2949047,
at *3 (D. Md. June 13, 2013) (citing Hoffman v. First Student, Inc., No. WDQ-06-1882, 2010 WL 1176641, at *2 (D.
Md. Mar. 23, 2010)); Lopez v. NTI, LLC, 748 F. Supp. 2d 471, 478 (D. Md. 2010)). The settlement must “reflect[] a
fair and reasonable resolution of a bona fide dispute over FLSA provisions.” Id. The Court thus considers (1) whether
there are FLSA issues actually in dispute, (2) the fairness and reasonableness of the settlement in light of the relevant
factors from Rule 23, and (3) the reasonableness of the attorneys’ fees, if included in the agreement. Id. (citing Lynn’s
Food Stores, Inc. v. United States, 679 F.2d 1350, 1355 (11th Cir. 1982); Lomascolo v. Parsons Brinckerhoff, Inc.,
No. 08-1310, 2009 WL 3094955, at *10 (E.D. Va. Sept. 28, 2009); Lane v. Ko-Me, LLC, No. DKC-10-2261, 2011
WL 3880427, at *2-3 (D. Md. Aug. 31, 2011)). Based on the parties’ motion, I find that there are FLSA issues actually
in dispute, and the settlement reached by the parties is reasonable. Additionally, based the parties’ memorandum and
Plaintiff’s Counsels’ declarations, I find that the amount of attorney’s fees agreed upon is also reasonable under the
lodestar analysis.
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      ORDERED that Plaintiffs’ counsel submit a petition in support of their claimed fees on or

before December 10, 2022.


Dated: December 5, 2022                                  /s/
                                              J. Mark Coulson
                                              United States Magistrate Judge




                                              2
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      Exhibit A




                              3
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